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                          UNTIED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY                    SEP 1 3 2005
                               LEXINGTON DIVISION                             AT L E X l N G T O h
                               NO. 5:05-CV-288-JMH                         L E S L I E C b'dlTMiR
                                                                       CLERK U S DISTRICT C O U R l

NORREASHA GILL                                                                    PLAINTIFF

V.
                                REPORT OF MEDIATION

CUMULUS MEDIA,INC.                                                             DEFENDANT
                                        ********


       This case was mediated on September 9,2005, by Stephen L. Barker in Lexington,

Kentucky. Present were the Plaintiff and her attorney and the Defendant, and its attorneys.

The mediation lasted for 5 hours and was successful in resolving all issues.




                                                'STEPHE64 L. BARKER, ESQ.
                                                 155 East Main Street
                                                 Lexington, Kentucky 40507
                                                 (859) 255-8581


                              CERTIFICATE OF SERVICE

      I hereby certify that a true and accurate copy of the foregoing has been delivered via
United States Mail, postage prepaid, to the following on this the / ? y      of September,
2005:
      Lee Russell Van Horn, Esq.
      201 West Short Street
      206 Lexington Building
      Lexington, KY 40507
Case: 5:05-cv-00288-JMH-JBT Doc #: 10 Filed: 09/13/05 Page: 2 of 2 - Page ID#: 40



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